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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,
                                                 No. 3:24-cr-00071-VMK-MMS
                      Plaintiff,

        vs.

WILLIAM BRIAN MARSAN,

                      Defendant.


                    NOTICE REGARDING SENTENCING

       The United States previously filed a motion to continue sentencing in this

case because both attorneys for the government expected to be unavailable on April

2, 2025. The Court ordered the government to file an explanation on or before March

24, 2025, explaining why it agreed to the sentencing date in December 2024 if

counsel now appears to be unavailable for that date. Dkt. 74.

       The government hereby withdraws its Motion to Continue Sentencing.


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Undersigned counsel will be available for the currently set Imposition of Sentence

on April 2, 2025.

       RESPECTFULLY SUBMITTED this 22nd day of March, 2025, in

Anchorage, Alaska.

                                          MICHAEL J. HEYMAN
                                          United States Attorney

                                          s/ Mac Caille Petursson
                                          MAC CAILLE PETURSSON
                                          Assistant United States Attorney
                                          United States of America



CERTIFICATE OF SERVICE

I hereby certify that on March 22, 2025
a true and correct copy of the foregoing
was served electronically on parties of record

s/ Mac Caille Petursson
United States Attorney




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